Case 2:90-cv-00520-KJM-SCR   Document 3114-4   Filed 10/20/08   Page 1 of 24




                             EXHIBIT C
Case 2:90-cv-00520-KJM-SCR   Document 3114-4   Filed 10/20/08   Page 2 of 24




                REPORT OF JEANNE WOODFORD

              COLEMAN v. SCHWARZENEGGER et. aI.,
                  No. eiy S-90-0520 LKK JFM P

                PLATA v. SCHWARZENEGGER et. aL.,
                         No. COL-1351 THE

                      THREE-JUDGE COURT

                        NOVEMBER 9, 2007
Case 2:90-cv-00520-KJM-SCR             Document 3114-4            Filed 10/20/08        Page 3 of 24




                                 TABLE OF CONTENTS



       A. Background      and Introduction......... ....................................... ..1

       B. Causes and Effects of Overcrowding........ .... ...................... ........3

      C. The State's Inadequate Response to Overcrowding: AB 00........... ...10

      D. Communications with the Governor and His Staff on
         Overcrowding.. .... ........ .......... ...................... ......... .......... .13

      E. Conclusion................. ............. ..... ................................ ...15
     Case 2:90-cv-00520-KJM-SCR                         Document 3114-4        Filed 10/20/08     Page 4 of 24




                             Plata v. Schwarzenegger; Coleman v. Schwarzenegger
                                         REPORT OF JEANNE WOODFORD

           A. Background and Introduction

            1. I received my B.A. from S'onoma State University in 1978. I became a

correctional offcer at San Quentin in 1978, I worked tor the California Department of

Corrections and Rehabiltation (eDCR) for the next 27 years in various custodial and

management positions. While at San Quentin, I rose through the ranks, eventually

becoming the Warden from 1999 to 2004. In 2004 Governor Schwarzenegger appointed

me as the Director of what was then the Department of Corrections. In 2005 he

appointed me to be the Undersecretary for the CDCR and then the acting Secretary of the

Deparment. I retired                   from the CDCR in July oflast year. Since November 1,2006, I

have been the Chief              Probation Offcer for the City and County of San Francisco. A

complete description of                  my' educational and employment background is set forth in my

resume, which is attached as Appendix A.

          2. All of my positions with the CDCR have included health care related tasks,

While a correctional officer, one of                my responsibilties was to escort prisoners to their

~edical or mental health appointments. As a supervisor in housing units, I was

responsible for ensuring that correctional offcers did the same. As a correctional

counselor, I advocated for prisoners to be examined by physicians. As a manager at San

Quentin and the CDCR I worked with health care staff, and court appointed personnel on

the improvement of               the health care delivery system both at San Quentin and in the

Department generally through both Coleman and Plata.
                                                            1
     Case 2:90-cv-00520-KJM-SCR                    Document 3114-4       Filed 10/20/08      Page 5 of 24




             3. I have been asked by attorneys for the Plaintiffs in both of these cases to

describe my observations of the effects of overcrowding on the delivery of medical and

mental health care to prisoners and whether in my opinion overcrowding is the primary

cause of the constitutional violations, and, if so, whether other orders would effectively

address the severe problems that plague the CDCR. I agreed to describe my observations

and express my opinions, but I wil not accept any compensation for doing so.

          4, In preparation for this report I have reviewed the following documents:

Governor Schwarzenegger, Prison Overcrowding State of Emergency Proclarnation

(October 2006); Offce of Inspector General, Special Review into the California

Department of Corrections and Rehabilitation ~ Release of Inmate Scott Thomas

(October 2007); Little Hoover Commission, Solving California's Corrections Crisis:

Time is Running Out (January 2007); Assembly Bil 900; Toussaint v. McCarthy, 597 F.

Supp. 1388          (N.D. CaL. 1984); CDCR, Fall Adult Population Projections (October 2007);

Offce of the Inspector General, Special Review into'In-Prison Substance Abuse

Programs Managed by the California Department of               Corrections and Rehabiltation

(February 2007); Expert Panel, A Roadmap for Effective Offender Programming in

California (June 2007).

             5. In the last four years I have testified as an expert witness in a trial involving

death row in Ohio.

             6. My observations are set forth below. My opinion is that overcrowding is the

primary cause of the constitutional violations, and nothing short of a reduction in the

                                                      2
   Case 2:90-cv-00520-KJM-SCR             Document 3114-4       Filed 10/20/08      Page 6 of 24




prison population wil effectively address these issues.

              B. Causes and Effects of Overcrowding

      7. When I began employment as a correctional officer there were fewer than

30,000 prisoners in 12 state prisons. In the early 1980s, the prison population begap to

grow, and as a result the then existing prisons, including San Quentin, began to increase

the use of double cellng, to house prisoners. I saw first hand the effects of overcrowding

on prisoners, staff and the prison's infrastructure.

      8. The increase in the prison population created problems in virtually all areas.

Overcrowding caused the prison to be more dangerous for both prisoners and staff. The

environmental conditions deteriorated to the point where they posed health and safety

risks to everyone living and working in some housing units. Violence increased among

prisoners, putting prisoners and staff at a greater risk of harm. Crowding also put a

tremendous strain on the prison's ability to deliver adequate services, particularly medical

and mental health care to prisoners.

      9. It was not long before lawsuits were tìled, challenging these terrible conditions.

Two cases, Wilson v. Deukmejian and Toussaint v. McCarthy, resulted in orders not to

double cell prisoners. Another case, Marin v. Rushen, was settled with an agreement to


provide enhanced medical and mental health services to prisoners. In the Toussaint case,

the Court founçl that overcrowding "strains all environmental systems within the

institution, and makes it difficult to provide decent conditions of confinement to lockup

inmates." Toussaint v. McCarthy, 597 F. Supp. at 1405. I agree, although I believe the

                                               "
                                               .)
     Case 2:90-cv-00520-KJM-SCR                                  Document 3114-4                         Filed 10/20/08    Page 7 of 24




Court understated the challenges posed by severe overcrowding, perhaps because the

lockup units at that time were only 140% overcrowded,

           1 O. Overcrowding of the magnitude currently existing in the CDCR is

unprecedented in my experience, I do not know of another state                                             prison system that

approaches this level of crowding. In my opinion, it is all but impossible to safely and

humanely incarcerate this many prisoners within the existing facilities,

          1 i. M~mageinent. The CDCR ,lacks an effective management structure, it has

insuffcient management information systems to provide accurate data to managers, and it

lacks suffcient number of personnel who have the necessar skil and training to manage

such a large and complex organization.

          12. Overcrowding exacerbates the weaknesses in the organizational structure of

the CDCR. There are simply too many issues that arise from such a large number of

prisoners and staff. One result of                      this is that management spends virtally all of                    its time

fighting fires instead of engaging in thoughtful decision-making and planning. This

results in short-sighted decisions that create even more crises. Under these

circumstances, it is virtually impossible for the organization to develop, much less

implement, a plan to provide prisoners with adequate care.

          13. Transfers/Classifcation. Overcrowding limits the CDCR's ability to get

prisoners to the right prison for treatment. The health care needs of prisoners do not take

place in a vacuum. The CDCR employs an objective classification system that assigns

prisoners points based on the length of                          their sentence, their disciplinary history and other

                                                                        4
    Case 2:90-cv-00520-KJM-SCR               Document 3114-4                     Filed 10/20/08    Page 8 of 24




objective factors. Based on the number of points, prisoners are classitied into one of four

levels. The level of classification determines which prisons prisoners can be transferred

to. In addition, many prisoners have other special needs, such as for protective custody,

gang association or dual diagnosis. All of       these factors limit the places that prisoners can

be housed. Since crowding fills any available space, there is insufficient flexibilty in

moving prisoners so that their health care and other needs can be met. For example,

crowding causes delays in moving reception center prisoners to other prisons for

treatment. Instead, many parole violators end up serving their entire sentence in

reception centers, which are not designed for, nor capable of, providing the appropriate

treatment.

           14. To manage the movement of     prisoners appropriately, five percent of             housing

should be vacant. Without the flexibility that this vacancy rate provides, it is very

difficult to ensure that prisoners are housed appropriately for their medical and mental

health needs.


           15. Staffng. A prison cannot function without adequate custodial staff. Custodial


staff are essential to providing health care to prisoners because they supervise prisoner

movement to and from medical.appointments, they escort prisoners to sen1ices within an

institution and they provide supervision when prisoners are taken out of the prison to

medical appointments, hospitals or they are transferred to another institution. In

California there is not enough correctional staff to provide prisoners with timely access to

care and still perform other essential functions.

                                                    5
        Case 2:90-cv-00520-KJM-SCR                              Document 3114-4         Filed 10/20/08     Page 9 of 24




           16. Despite relatively high salaries, it is diffcult to recruit enough correctional

officers, While I was in the central office, we tried to step up recruitment efforts but we

could not get enough applicants that passed the security and background checks and then

made it through the academy to fill all our authorized positions. At San Quentin, for

example, even when new recruits were added the effect was often temporary because

after a short time correctional offcers transferred to other prisons in more desirable, less

expensive locations. In addition, the least experienced staff                         would often have to work the

most diftcult positions because union rules permitted personnel to bid on 70% of the


open positions. When l visited the Correctional Training Facility at Soledad, for

example, I found a lone correctional ofticer in a housing unit who told me that he could

not search cells (a basic safety requirement) while prisoners were in the housing unit.

When I asked what his supervising sergeant thought about this, he responded that there

was no sergeant because it was the least desirable of                         the units at CTF.

           17. The number of authorized positions is grossly inadequate to provide suffcient

staff    to meet all of        the prisoners' basic needs. For example, there are often only two

officers to supervise 200 prisoners in a gym or a donn. This is extremely dangerous for

both the prisoners and the staff because line of sight supervision is impossible under these

circumstances and it does not permit the staff                         the time to recognize that prisoners are in

trouble from any number of causes, including medical or mental ilnesses.

           18. Inadequate staff has created dangerous conditions for both the staff and

prisoners. To be effective, correctional offcers must interact with prisoners. This

                                                                   6
    Case 2:90-cv-00520-KJM-SCR                                     Document 3114-4          Filed 10/20/08    Page 10 of 24




communication reduces tension and violence in the unit, and it often allows the staff                             to

know when a prisoner has a medical or mental health issue. Generally, there is not

enough prisoner-staff interaction in the CDCR because ofthe staffing shortages and the

insufficient number of staff positions in many of the housing units.

           19. The danger to prisoners is enhanced because the correctional staff frequently is

forced to work mandatory overtime. Some staff                                   work back-to-back douhle shifts and

would sleep in their cars in the prison parking lot instead of                            making the long commute

home, Officers who are tired and suffer from low morale are often less productive and

do not fultìll aU their responsibilities to provide for the basic needs of prisoners. Such

officers wil be less responsive to prisoners who need escorts to medical or mental health

services and \vil lJe less likely to recognize signs and symptoms of mental illness or

manifestations of suicidal ideation.

          20. At Corcoran and SATP two tragic cases ilustrated the problem. One prisoner

literally starved to death and another bled to death. Many officers were in the unit at the

time these events OCCUlTed. It is inconceivable to me that offcers who were properly

supervising the prisoner~ in thei.r care would not notice such obvious events.

          21. The tragic effects of overcrowding reach into the community. The' case of

Scott Thomas exemplifies the unreasonable demands placedon staff                                   when the prisons are

so overcrowded. Scott Thomas was mistakenly released on parole on May 18,2007 and

allegedly entered a San Francisco bakery and stabbed a 15 year-old girl and a man who

came to her aid.

                                                                         7
    Case 2:90-cv-00520-KJM-SCR                                  Document 3114-4          Filed 10/20/08   Page 11 of 24




          22. San Quentin staff made three fundamental errors when processing this case.

First, they confused Scott Thomas with another prisoner, Steve Thomas, who was a

different race, 16 years younger and 40 pounds lighter. Second, in 2002 the CDCR

designated Thomas as "high control", which requires the Department to take additional

precautions, such as close supervision, when releasing such prisoners op. parole. No such

precautions were taken despite prominent documents to that etIect in his prison fie.

Third, staff        violated clear CDCR policy that required the release of a prisoner serving a

term in the security housing unit directly to a parole agent.

          23. Although it is clear that individuals did not comply with CDCR policy, the

inappropriate release of                Thomas is really a system tàilure because the,          people doing the

\-vork have an impossible mission. Having been a conectional counselor with similar

responsibilities, I know from                   first hand experience that there is not enough time for the

Correctional Counselor III to review 150 to 200 cases per week and do their job properly.

Nor is there sufficient trained records staff                         to complete adequate review of cases for

parole or other legal releases.

          24. Lockdowns. Lockdowns exacerbate the overcrowding crisis because they are

staff intensive and inhibit the delivery of serviCes to prisoners. When I became the

Director I was shocked by the number and durations of lockdowns. A recent state-

sponsored study of lockdowns recognized the direct relationship between overcrowding

and lockdowns: the "other side ofthe overcrowding coin is that when wardens implement

security lockdowns, they usually shut down all programming in the affected areas. Not

                                                                         8
    Case 2:90-cv-00520-KJM-SCR                                  Document 3114-4                Filed 10/20/08     Page 12 of 24




only is this disruptive to programming but,                            the Panel believes the number and duration of

lockdowns in California prisons is excessive." Expert Panel, A Roadmap for Effective

Offender Programming in California, at viii.

           25. Lockdowns inake the delivery of                          medical and mental health particularly

diffcult because staff               must escort prisoners to every service or bring the service to them.

The CDCR prisons are not staffed for that. In my experience, mental health services

were at times cancelled because of lockdowns or other emergencies, and offcers would

only escort prisoners with urgent medical conditions,

           26. Lockdowns increase the fisk that a prisoner wil not get treatment in an

emergency because prisoners are dependent on the correctional offcer to properly

convey the medical problem to medical staff and then be able get an escort to the clinic,

Conversely, there is an extra burden on medical staff because they may be required to

travel to the housing unit.

           27. Lockdowns also adversely affect some                                prisoners' mental health. I have

observed many prisoners who have ,been locked in their cells for long periods of                                  time

deteriorate right before my eyes. Their skin becomes ashen,their ability to communicate

is reduced and sometimes they are not oriented to time and place.

           28. Clinical Space. California's prisons were not built with suffcient space for

medical and mental health services. Space for mental health facilties is a particular

concern because of all the activities that are required by the Coleman program guides, To

meet the       demands for space the CDCRwas constantly trying to shoehorn mental health

                                                                         9
    Case 2:90-cv-00520-KJM-SCR                                     Document 3114-4         Filed 10/20/08    Page 13 of 24




facilities into areas that were not designed for such activities. Not only did this make an

imperfect fit for the space, but it also resulted in the loss of space for other programs.

          29. Old and Deteriorating Prisons. Many of the existing facílties are too old and

decrepit to provide humane housing. Among those include parts of                                 the Correctional

Training Facility, Deuel Vocational Institution, San Quentin, the California Mens

eolony, Folsom, the California Rehabiltation Center and the Correctional Conservation

Center.

          30. When I visited prisons during my tenure as Director at times the noise levels

were so bad that itwas enough to drive a sane person crazy. In some units, like Palm

Hall for example, stair found it unbearable to remain inside the unit tor more than a few

minutes,

           C. The State's Inadequate Response to Overcrowding: AB 900.

          31. Assembly Bil 900 is not the right solution for the overcrowding crisis. AB

900 essentially is a prison expansion measure which increases the number of prison cells

without addressing the fundamental structural issues that have caused the crisis and that

have created unconstitutional conditions within the prisons, It is not consistent                           with the

recommendations of                the report of            the Expert Panel on Corrections Reform as well as

other similar reports. See Expert Panel Report at 77 (summarizing recommendations of

previous reports).

          32. AB 900 does nothing to limit the growth of                            the prison population. According

to the CDCR's latest projections, the population wil increase by another i 0,000 prisoners

                                                                        10
     Case 2:90-cv-00520-KJM-SCR                                  Document 3114-4                        Filed 10/20/08       Page 14 of 24




 by 2010. This confirms my belief                         that California cannot build its way out of                    this crisis.

           33. AB 900 relies heavily on the assumption that there wil,be a reduction in

 recidivism through rehabiltative programs in the planned reentry facilities. That

 assumption is wrong. CDCR paroles 10,000 prisoners per month.' Sixty percent of
                                                                                                                                 those

 parolees serve an average of 4.5 months, and 69% of first time parolees serve less than a

, year. Not only is this precious little time to promote effective rehabiltation, but I agree

 with the Little Hoover Commission that these "short prison stints" have no effect on
                                                                                   .. .
 public safety. "(T)hey.., disrupt tàmiles and communities where these otTenders come


 from and return to, and qiminish the potential for offenders to get and keep jobs, maintain

 housing and become law-abiding citizens." Little Hoover Commission, Solving

 California's Corrections Crisis, at 27.

           34. Effective rehabiltation assumes that the Legislatue and Governor wil

 appropriate enough money for effective programs. This fiscal year the legislature

 enhanced the budget for programs by only approximately $50 milion, By any measure,

 this paltry figure demonstrates a lack of commitment to rehabilitation in a system this

 large with an annual budget of almost $1 a bilion. In my experience, in tight tìscal times

 the first thing to go in corrections is money for rehabilitative programs,

            35, I witnessed the destruction ofmöst rehabiltation programs during the early

  1990s, from which thè department has never recovered. With a California budget deficit

 expected to reach over $8 billion next year, I do not believe that the state legislature's '

 monetary commitment wil be any greater and probably much less.

                                                                          11
Case 2:90-cv-00520-KJM-SCR   Document 3114-4   Filed 10/20/08   Page 15 of 24




                                 12
Case 2:90-cv-00520-KJM-SCR   Document 3114-4   Filed 10/20/08   Page 16 of 24




                                 13
   Case 2:90-cv-00520-KJM-SCR                                   Document 3114-4     Filed 10/20/08           Page 17 of 24




continue and that the state equId not build its way out of                     this problem.

          42. I did subsequently meet with Ms. Kennedy, the Governor's Chief of Staff, and

Fred Aguiar, the Governor's Cabinet Secretar, and intoried them that I could not

accept the position as Secretary until I had an opportunity to discuss my plans with the

Governor. I told them about the population pressures and my position on sentencing

reform. Ms. Kennedy said that she wanted to give the issue some thought, but never

discussed this issue with me again until the day I resigned.

          43. I finally met with the Governor in his smoking tent after                     I told Mr. Aguiar that

I planned to resign. I told the Governor that the state did not have a plan to address the

population pressures, In a prior meeting with the Governor as                        the Undersecretary of      the

CDCR the Governor asked me if I thought we needed more prison beds, I replied no,

unless it is to replace existing capacity, I explained that California has more prisoners

than Texas, yet Texas has over one hundred prisons and California has only 33. I

inionned the Governor that Calitornia had built very large prisons that were designed to

warehouse inmates. These large prisons are very difficult to manage and do not provide

enough space for programs and services.

          44. During my meeting with him on the day I stepped down as acting Secretary of

the CDCR I explained that we could not build our way out of                         the overcrowding problem

and that we needed sentencing reform. I also explained to him that we parole about

70,000 parole violators per year \\'ho serve twelve months or less and that this revolving

door created population pressures, I also told him that dangerous offenders were being

                                                                          14
 Case 2:90-cv-00520-KJM-SCR                           Document 3114-4      Filed 10/20/08      Page 18 of 24




released without any trea.lnient or prog,ram, and llm( this crisis waS jeopardizing public

safeiy. In ncldition, 1 explained thaL IO'A'levd ol1èndcrs could receive programs in the

conimunity that would cosiless and be mote etleciive thuii the prison progr~uns.

Govemor Schwarzeiiegger said that this all sounded reasonable, but Ms. Kennedy

r~mindcd him that iL was an ejection yoar and the m~eting ended shortly ihereufter.

            45. It was obvious to me at that time thal in order to ru an organization this large

with sueh complex) high profile problems, ihe CDCR Secretary rnust have meaningful

ac~ess to and the iiupport olihc ChicfF.xccutive. He is the only one who can make the

tough. politically sensìliv~ decisions that are necessary to ailcviat~ the crisis. Sinoe it wa~

obvious rhat '( wa~ not going to have this necessary access and it was evident to me the

Governor was not going to address the issues ina way 1 thought would address ihe pri:;un

overcrowding problem, 1 resigned my position as acting Sccretaiy,

             E. Conclusion

             46. The Governor's October 4,2006 omergency proclamation recognÌzed that

California's prisons are severely oven;rowded. creating "extreme peril" tei the health iind

safety of      prisoners and that "the magnitude of
                                                           the circumstances exceeds the capabilties


() r the services, personnel, equiplnen1. and Lalïiliics, . .," r agret:. Umil the population is

reduced substaniially there ís 110 realistic hope that the unconstitutional conditions wil be

eliminated.

             Dali:d: Novcmher 9,2007
                                                                    .~
                                                                   (\
                                                                  J~ann~ Wood ford

                                                         15
Case 2:90-cv-00520-KJM-SCR   Document 3114-4   Filed 10/20/08   Page 19 of 24




       , APPENDIX                        A
                                                              .....

Case 2:90-cv-00520-KJM-SCR                   Document 3114-4               Filed 10/20/08      Page 20 of 24




                              Jeanne S. Woodford
                                     Work: (415) 553-1688

OBJECTIVE:

To utilze education and career experience to benefit the Department of Corrections
and Rehabiltation.

EDUCATION:
                     1974 - Associate of Arts Degree
                     Santa Rosa Junior College
                     Santa Rosa, California
                     Liberal Arts
                     1978 - Bachelor of Arts Degree
                     Sonoma. State University
                     Rolinert Park, California
                     Criminal Justice, emphasis on Psychology and Sociology

CAREER EXPERIENCE:
 11/01/06            Chief Adult Probation Officer, Scm Francisco Adult Probation
Department
                     Direct responsibilties include the proper administration of the
                     Adult Probation Department; formulates policies and plans and
                     develops methods and procedures                  for the rehabiltation of adult
                     probationers; manages the budgetary andfiscal activities and
                     services of the entire organization, making continuing high-level
                     contacts with the welfare of adult probationers; directs the
                     preparation, approval, review and maintenance ofimportitnt
                     records and reports affecting all operations of the department;
                     cooperates with various social agencies, law enforcement bodies
                     and interested persons and groups iii programs of crime and
                      delinquency prevention.


 07/05/05            Appointed by Governor Arnold Schwarzenegger (is
                      Undersecretary of the California Department of Corrections (tnd
                      ReliabiltatiOl (CDCR).
                      Key responsibilties include advising the Secretary on major
                     . policy, program and organization issues; during the Secretary's
                      absence acting for and representing the Secretary in a variety of
                      areas with the Legislature, Governor's Office, Department of
                      Finance, other state andfederal agencies, localgovernment, and
                      constituent groups,' representing the CDCR on all policy and
                      program matters in response to inquiries from the press, the State
                      Legislature, and the public; reviewing and approving proposed
                      administrative regulations of the CDCR; advising the Secretary
                      on decisions of the state and federal courts affecting the CDCR,'
                      and providing administrative direction, and supervision to ,all
                      CDCR staff. For signifcant periods of                 time, appointed as Acting
                      Secretmy.
Case 2:90-cv-00520-KJM-SCR                          Document 3114-4       Filed 10/20/08     Page 21 of 24




02/23/04                         Appointed Director, Department of Corrections

                                 Responsible for the administration of 32 State prisons, 38
                                 conservation camps, more than 185 parole units, and contracts
                                 with 50 public or private community-based facUites or centers.
                                 Also, responsible for managing ànd operating budget of $5.3
                                 billon (fscal year 2003-2004). In this capacity, also serve as the
                                  Chair., Prison Industry,Board, am an acting member of the Eoard
                                  of Corrections, 'which oversees local juvenile halls and county
                                 jails; and sene as a member of   the Caltfòrnia Council on Criminal
                                  Justice,

06/22/00                         Appointed Warilen, San Quentin State Prison

02/99 to 6/00                     Warden (a)
                                  San Quentin State Prison

Directly responsible for the overall operation of             San Quentin State Prison. San Quentin
has three primary missions: Reception Center, condemned housing, and a level JJ
general population. San Quentin has a budget of 110,000,000. San Quentin houses
 5,800 inmates and has a workforce ofl,500 staff.
 RESUME
, JEANNE S. WOODFORD
 Page 2




 08/97 to 02/99                   Chief Deputy Warden
                                  San Quentin State Prison
                                  San Quentin, CA 94964
 Directly responsible for the day to day operation of San Quentin, including 1,500 staff
 and an inmate population of 6,000. Re:iponsible for managing a one hundred ten millon
 ($110, 000, 000.) budget.

 04/96 to 8/97                    Associate Warden
                                   Correctional Facility
                                  San Quentin State Prison
                                   San Quentin, California 94964
 Directly responsible for managing San Quentin's Central Services Division. Primary
 responsibilty for perimeter security, yards, gates,. wall posts, dining hall, Receiving and
 Release and visiting and mail programs. Direct supervision of Central Services
 Captain. Indirect supervision of 345 custody staff Additional responsibilties include
 the positon of San Quentin's Equal Employment Opportunity (EEO) Coordinator.

 04/95 to 04/96                    Facility Captain
                                   Correctional Facility
                                   San Quentin State Prison
                                   San Quentin, Califortia 94964

 Directly responsible for managing San Quentin's Reception Center, consisting of 3,000
 inmates, including a ISO-man HIV positive unit. Direct supervision of Correctional
Case 2:90-cv-00520-KJM-SCR                                   Document 3114-4            Filed 10/20/08    Page 22 of 24




Counselors 1I and Correctional Counselors I, as well as Reception Center custody
staff
02/93 to 04/9S                    Program Administrator
                                  Correctional Facility
                                  Scm Quentin State Prison
                                  San Quentin, California 94964

Directly responsible           for managing San Quentin's Reception Center, consisting of 3,000
inmates and a Reception Center records office; a ISO-man HIV positive unit and San
Quentin's main records offce.
07/91 to 02/93                    Program Administrator
                                  Correctional Facility
                                  San Quentin State Prison
                                  San Quentin, California 94964
Directly responsible for managing North Block, an orientationígenerCll populalion
housing unIt ¡.vith a bed capacily of 826 inmates; responsible for 32 unt(orm/non-uni(orm
staff; chair initial and routine classrfìcation commitees; established in
                                                                                                  maie programs;
monitoring and er¡(orcing appropriate security measures; establishing staff development,'
ensuring due process compliance/or both staff and inmates.

12/90 to 07/91                    Program Administrator
                                  Institutions Services Unit
                                  California Department of                  Corrections - Headquarters
                                  Sacramento, Califoriia 94283

Directly responsible for monitoring and managing the litigation filed agai~ist the
Califomici Department of Corrections. In addition, J was responsible for projects
aimed at preventing litigation such as theCIW health care study. Also, J was
 responsible for development of the Litigation Management Plan for the Department.
 06/90 to 12/90                    Correctional Counselor lIJ
                                   Correctional Faciliry
                                   San Quentin State Prison
                                   San Quentin, California 94964

 Directly responsible/or the operation oftlie Reception Center Records Offce, Monitor
 activities of Parole Revocation Unit relative to timeliness of revocation hearings. Act
 as liaison witli otlier agencies and other institutions to coordinate transfers for out to
 court, medical and psychiatric cases. Monitor of overall production ami qualiry
 control of cases from reception to transfer. Direct supervision of four Correctional
 Counselors 11 and. One Case Records Manager. Indirect supervision of 21
 Correctional Counselors 1, two Case Records Supervisors and other clerical personneL.
 Provide on thejob training and formalized training for Records, couJiseling and otlier
 staff
 04/87 to 06/90                    Correctional Counselor JJ
                                   Legal Affairs Coordinator
                                   San Quentin State Prison
                                   San Quentin, Califoriia 94964

 Coordinate and investigtie compliance services with ciistodial (lid ancilary staff Act
Case 2:90-cv-00520-KJM-SCR                                 Document 3114-4   Filed 10/20/08    Page 23 of 24




as primary liaison and resource persoii for the Instiution Operation Divisions with
respect to court compliance. Coordinate tlie on-site compliance audits and production
of all submissions to the courts or other agencies. Respond to special compliance/legal
affairs projects as necessary and perform special duties as directed by the Warden and
Chief Deputy Warden. Answer questions and prepare responses to Monitors, Special
Masters, Inspector General stajJ departmental counsel, Attorney General and Court
Management Services Branch on behalf of tlie institution.' Assist in preparation of
institutional budget proposals affected by court cases. Schedule and track co~idemned
inmates witli execution dates. Prepare reports for the Govern(Jr for inmates with
execution dates.
09/86 to 04/87                    Correctional Counselor JJ
                                  Work Incentive Coordinator
                                  San Quentin State Prison
                                  San Quentin, California 94964

RESUME
JEANNE S. WOODFORD
Page 3

Coordinate' San Quentin's Work Incentive Program. Auditngof Work. Incentive
records. Training staff on the proper implementation oftJie Work Incentive Program.
03/86 to 09/86                     Correctional Counselor II
                                  Security Housing Units I and IV
                                  San Quentin State Prison
                                  San Quentin, California 94964

Supervision of Correctional Counselors I. Schedule and participate in institutional
classifcation actions. Ch(iir unit classifcation; act as Program Administrator in the
absence of the Program Administrator. Work closely with San Quentin's Criminal
Activity Coordinator relative to gang activity. Ensure compliance with court decisions:
 i.e., Toussaint Decision, Thompson Decision, Wi/son Decision. Write and update
 Institutional Procedures.
 05/83 to 03/86                    Correctional Counselor I
                                   San Quentin State Prison
                                   San Quentin, California 94964

 Peiform the casework functions forSan Quentin's 102-man, Maximum A custody,
 staff assaulter unit. These duties include normal casework functions
                                                                                     as well as (l very
 broad knowledge of gang members and gang acrivities. Work closely with San
 Quentin's Criminal Activity Coordinator i.e/ative to gang activity. Ensure compliancè
 with court decisions. Peiforni casework functions for San Quentin's H-Unit: duties
 include classifcation cictions, board reports and appropriate programming
 recommendations.
 1978 to 1983                       Correctional        Offcer
                                    San Quentin State Prison
                                    San Quentin, California 94964

 Supervision of inmates.
 AP POINTiì1ENTS:
Case 2:90-cv-00520-KJM-SCR                                Document 3114-4         Filed 10/20/08   Page 24 of 24




Human Relations Committee, San Quentin
 Conflict Resolution Team .
 Trauma Team
Equal Employment OpportimitylAffrmatîve Action Counselor
Department Equal Employment Opportunity Investigator
San Quentin Drug Program Coordinator
San Quentin Equal Opportunity                      Coordinator
San Quentin Treatment of People Committee Mentor
Leadership Institute
Class A Trustee with the General Services Boardfor Alcoholic Anonymous
John Jay College of Criminal Justice Advisory Committee
Technology Services Boardfor the Department of  technology Services (Member)
 Council 011 MentalfyIll Offenders (Chair)
 Correctional Standards Authority (Chair)
 Friends Outside Sacramento Chapter (Honorary Chair)
 PANEL MEMBER/HEARINGS:

National Institute of Corrections (June 6-7, 2005) hearing on Faith-based Appro
                                                                                                   (ic!i to
   Corrections Issues
